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UNITED STATES DISTRICT COURT MARS BASEL
SOUTHERN DISTRICT OF OHIO)” LR

EASTERN DIVISION 30) JUN 23 AMAL: 33
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Plaintiffs, Case No. 2:18-cv-272
V. Judge Michael H. Watson
Stephanie McCloud, et ai., Magistrate Judge Vascura
Defendants.
CONSENT JUDGMENT

This cause came to be heard pursuant to the Complaint filed on March 29,
2018, by Plaintiffs Stacie Ray, Basil Argento, Jane Doe, and Ashley Breda
(“Plaintiffs”) for injunctive relief and to force the Ohio Department of Health
(“ODH”) to provide corrected birth certificates to transgender people born in Ohio.
Extensive discovery took place, including depositions of each of the Plaintiffs and
testimony from three separate expert witnesses. On January 16, 2020, Plaintiffs
filed a motion for summary judgment. This Court granted Plaintiffs’ motion and
entered a permanent injunction ordering Defendants, officials in the Ohio
Department of Health’s Office of Vital Statistics, to end the Department's
prohibition against correcting the sex marker on the birth certificates of
transgender people born in Ohio.

On May 18, 2021, the Department began permitting transgender people to

request a change to their birth certificates in accordance with this Court’s
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decision. Applicants seeking a corrected birth certificate from the Department

must obtain a court order that finds facts establishing the applicant is entitled to

the correction, and that orders the Department to make such a correction. Based

on the Court’s inherent authority to clarify the scope of its rulings, the Court

confirms that its December 16, 2020 decision constitutes such an order as to

Plaintiffs, in concert with the following additional agreed upon findings of fact and

conclusions of law regarding the Plaintiffs and their entitlement to have their birth

records corrected by ODH:

Each of the Plaintiffs are transgender. The sex reflected on their
birth records do not match their gender.

Plaintiffs have all taken steps to bring their physical appearance and
gender expression into conformity with their gender identity,
including through clinically appropriate treatment undertaken in
consultation with health care professionals.

Plaintiffs have also taken steps to change their names and other
biographical information contained on various state and federal
identification documents.

Each of the Plaintiffs has been diagnosed with gender dysphoria and
have testified under oath at deposition that their gender identity does

not match the sex identified on their Ohio birth records.

In tight of the foregoing, the parties have agreed and the Court Orders as

follows:

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1. ODH shall immediately correct the sex marker on each of the
Plaintiff's birth certificates and issue corrected birth records to the
Plaintiffs or their counsel.

2. The original, uncorrected document will be sealed in a vault
inaccessible to the public and the new, corrected birth certificate will
not bear any markings indicating the correction was made.

3. This order issued by this Court is applicable only to the four plaintiffs
in the above case, and not to others seeking correction of the sex
marker on their birth certificates. The issuance of this order by this
Court shall not be taken to dictate the types of findings of fact or
conclusions of law that may be necessary when other individuals
apply to other courts for orders entitling them to a correction of their
birth certificates.

The Court shall retain jurisdiction over any issue that should arise from, or

is related to, the Consent Judgment.

IT IS SO ORDERED. - / if Won
MICHAEL H. WATSON, JUDGE

UNITED STATES DISTRICT COURT

 

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AGREED TO BY:
Dated June 22, 2021

isi Jason J. Blake

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Respectfully Submitted,

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